                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

   CAITLIN O’CONNOR,

                  Plaintiff,                                Case No. 3:20-cv-00628

                                                             Judge Richardson
   THE LAMPO GROUP, LLC a/k/a
   RAMSEY SOLUTIONS,                                         Magistrate Judge Frensley

                Defendant.
_____________________________________________________________________________



                               JOINT NOTICE OF WITHDRAWAL

       COMES NOW, the undersigned, attorney Anne Bennett Hunter, and respectfully notifies

the Court that she is withdrawing as counsel for Plaintiff, Caitlin O’Connor, in this matter. As

grounds, Ms. Hunter states that Heather Moore Collins and Ashley Shoemaker Walter of HMC

Civil Rights Law, PLLC will continue as counsel for Plaintiff and have represented that Plaintiff

has consented to this withdrawal.




                                                    Respectfully submitted,

                                                    /s Anne Bennett Hunter
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                                                    /s Heather Moore Collins
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                                                    Attorneys for Plaintiff

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this JOINT Notice of Withdrawal has been

furnished to via the Court’s electronic filing system on May 15, 2022 to the following:


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